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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ERNEST STANDLEY,                                 §
    Plaintiff,                                   §
                                                 §
V.                                               §   CIVIL ACTION NO.: 4:14-CV-2057
                                                 §   JURY DEMANDED
NABORS INDUSTRIES, INC., AND                     §
EXPRESS PAYROLL, INC.,                           §
    Defendants.                                  §

                   DEFENDANT’S NOTICE OF INITIAL DISCLOSURE

       Pursuant to Rule 26 of the Federal Rules of Civil Procedure, Defendant, EXPRESS

PAYROLL, INC. (“Defendant”), hereby submits its Notice of Initial Disclosure and would

respectfully show the Court as follows:

                                                I.

       On December 15, 2014, Defendant served its Initial Disclosure statement to all parties, in

accordance with the local rules and the Federal Rules of Civil Procedure. Defendant will

continue to supplement as circumstances permit and as required by the governing rules.

                                               II.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Court take notice

of such disclosure and for such other and further relief to which Defendant may be entitled.
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                                         Respectfully submitted,



                                         ___________________________________
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                                         COUNSEL FOR DEFENDANT
                                         EXPRESS PAYROLL, INC.


                             CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of December, 2014, a true and correct copy of
Defendant’s Notice of Initial Disclosure was forwarded to all known counsel of record
pursuant to the Federal Rules of Civil Procedure.


                                         ____________________________________
                                         Larry J. Simmons




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